Case 5:19-cv-02456-FMO-SP Document 63 Filed 07/14/20 Page 1 of 1 Page ID #:993




                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE NUMBER:


JAMAL JOHNSON                                                    5:19−cv−02456−FMO−SP
                                            PLAINTIFF(S)

      v.
MOSS BROS. AUTO GROUP, INC.

                                                              ORDER TO STRIKE ELECTRONICALLY FILED
                                         DEFENDANT(S).
                                                                          DOCUMENT(S)




The Court hereby ORDERS the documents listed below be STRICKEN for failure to comply
with the Court’s Local Rules, General Orders, and/or Case Management Order, as indicated:
   6/30/20                   /              54                       /               Motion to Amend
  Date Filed                               Doc. No.                                 Title of Document
                             /                                       /
  Date Filed                               Doc. No.                                 Title of Document




Other:
failure to comply with L.R. 7−3. The moving party states that it met and conferred but does not
provide the date on which the meet and confer took place.


Dated: July 14, 2020                                        By: /s/ Fernando M. Olguin
                                                                U.S. District Judge

     Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.



 G−106 (6/12)         ORDER TO STRIKE ELECTRONICALLY FILED DOCUMENT(S)
